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                 DEEPWATER HORIZON
                 CLAIMS CENTER
                  ECONOMIC & PROPERTY DAMAGE CLAIMS



       DEEPWATER HORIZON ECONOMIC CLAIMS CENTER

       Policy



       Code of Conduct Policy
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       Policy Number: CA~003
       Version:       2.0
       Applies to:    All Program Contractors, Subcontractors and Vendors




       DHECC Approvals
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       Patr~-                     ----                                      ffai(;j
       Claims Administrator




       David F. Odom



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               DEEPWATER HORIZON
              CLAIMS CENTER
               ECONOMIC & PROPERTY DAMAGE CLAIMS


   Chief Executive Officer

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   1.0 General

   This Code of Conduct Policy defines the established standards and practices by which Contractors.
   Subcontractors and Vendors will conduct business while working on behalf of the Deepwater Horizon
   Economic Claims Center (OHECC) Administration in processing claims and making payment
   determinations for qualified Claimants.

   Policy:

       Contractors, Subcontractors and Vendors will ensure that all Contractor, Subcontractor and Vendor
       Personnel have a clear and consistent understanding of the ethical standards that are expected and
       required while performing services on this progr<Jm
       Contractors, Subcontractors and Vendors shall constantly improve t11e quality of service, products
       and operations and create a reputation for honesty, fairness. respect, responsibility, integrity, trust
       and sound business judgment.
       No bnbes, kickbacks or other similar remuneration or consideration shall be given to any person or
       organization in order to attract or influence business activity. All Contraclor, Subcontractor and
       Vendor Personnel shall avoid girts, gratuities, fees, bont1ses or excessive entertainment. in order to
       attract or influence business activity.
       Contractor, Subcontractor and Vendor Persortnel will often come into contact with. or have
       possession of. proprietary, confidential or business-sensitive information and 1nust take appropriattJ
       steps to assure that such information is strictly safeguarded.
       Contractors, Subcontractors and Vendors are required to disclose unethical, dishonest, fraudulent
       and illegal behavior, or the violation of program policies and procedures by any Contractor,
       Subcontractor and Vendor Personnel. directly to the CEO David F. Odorn or Special Counsel Michael
       J, Juneau.
       Contractors. Subcontfaclors and Vendors will obey all Equal Ernploymen1 Opportunity laws and act
       with respect and responsibility towards others in all of thejr dealings.
       Contractors, Subcontractors and Vendors shall ensure that all Contractor. Subcontractor and Vendor
       Personnel are fully apprised ilnd compliant with this Policy

   This Policy is subject to modification or revrsion in part or in its entirety to reflect changes in conditions
   subsequent to the effective date of this Policy

   2.0 Scope


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              CLAIMS CENTER
              ECON0~11C & PROPERTY DAMAGE CLAIMS



   This Policy applies to the ethical conduct required by all Contractors, Subcontractors and Vendors, and
   Contractor, Subcontractor and Vendor Personnel providing services to the Deepwater Horizon Economic
   Claims Center Administration.

   3.0 Definitions

   DEFINITIONS FOR CONTRACTOR, SUBCONTRACTOR AND VENDOR POLICIES

   The following defined words and phn:.1ses apply to the Code of Conduct Policy. Terms used ln the
   singular shall be deemed to include the plural and vice versa. Oltmr words and phrases appearing in
   capital letters throughout the referenced documents shall have the meanings they are given with their first
   operative use.

   C.EO: T I'Je Chie'f Executive Office of the OHECC.

   CFO: The Chlef Financial Officer of the OHECC.

   Claim : Any demand or request for compensation together with any accompanying documentation
   submitted by any Claimant in connection with the Deepwater Horizon Incident.

   Claim ant: Any natural person or entity that submit s a Claim to the Deepwater Horizon Court Supervised
   Settlement Program seeking compensation in connection w ith the Deepwater Horizon Incident.

   Claim s Administrator : The person or entity selected or appointed or designated by the Court who shaH
   administer economic and property damages settlements under the supervision of the Court.

   Clai m s Admi nistration Services: Services mutuafly agreed to in w riting by any Contractor.
   Subcontractor or Vendor and Claims Administrator or as otherwise reasonably requested by tile Claims
   Administrator from time to time pursuant to the Deepwater Horizon Economic and Property Damages
   Settlement Agreement and/or Transition Order {and any amendments or modifications thereof) and
   further orders o f the Court. T he Claims Administration Services shall be provided in strict accordance
   with the terms of the Deepwater Horizon Economic and Properly Damages Seltlement Agreement, the
   Courr s Preliminary Approval Order. the Transition Order (and any amendments or modifications ther eof)
   and in compliance with applicable law .

   Claim s File: Any information. content or materi<~l regarding a Claim in electronic, paper or other lorrn.

   Confidential Information: As ascribed in the Confidenliality/Non-Disc!osLire Agreement.

   Co ntractor : An independent contractor, or employee or agent of an independent contractor. working at
   the request of the Claims Administrator engaged to assist with the Claims Administrator's responsibilities.
   Contractor is not to be considered an employee of the Claims Administrator for any purpose inciLiding. but
   not limited to, for purposes of the Federal Insurance Contribution Act. the Social Security Act. the Federal
   Unemployment Tax Act, income tax withholding (federal, state and local), worker's compensation
   insurance premiu ms. and any and all state taxes. Contractor agrees to comply with all legal and ethical
   obligations related to assisting the Claims Administrator in his Court-appointed rote as the Claims
   Administrator.

   Contracto r Personne l: Contractor officers, members, partners, directors, principals and employees.




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              DEEPWATER HORI ZON
              CLAIMS CEN TER
              ECONOMIC & PROPERTY DA MAGE CLAIMS


   Court: The United States District Court for the Eastern District of LoL:isiana, Judge Carl Barbier,
   presiding, in In Re: Oil Spilf by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico, MDL No. 2179.

   Court Supervised Claims Progr am: A!l activities an<l obligations of the Claims Administrator or those
   under his supervision necessary to implement the Deepwater Horizon Economic and Property Damages
   Settlement Agreement.

   Deepwater Horizon Inc ident: T he events. actions, inactions and omissions leading up to and including
   (i) the blowout of the MC252 WELL; (ii) the explosions and fire on board the Deepwater Horizon on or
   about April 20, 2010; (iii) the sinking of the Deepwater Horizon on or about April 22, 2010; (iv) the release
   of oil, other hydrocarbons and other substances fr om the MC252 Well and/or the Deepwater Horizon and
   its appurtenances; (v) the efforts to contain the MC252 Well; (vt) Response ActNities, including the
   Vessels of Opportunity (VoO) Program; (vii) the operation of the Gulf Coast Claims Facility (GCCF): and
   (viii) BP Exploration & Production Inc. (BP) public statements relating to all or the foregoing.

   Deepwater Horizon Economic and Property Damages Settlement Agreement: The settlement
   agreement entered by the Court on April18, 2012 and any amenclments or modifications thereto.

   Speci al Counsel: The Legal authority for policy determination for OHECC.

   Subcontractor: An independent contractor, or employee or agent of an independent contractor. working
   at the request o f any Contractor or Vendor engaged by the Contractor or Vendor to assist with tl)e Claims
   Administrator's responsibilities. Subcontractor is not to be considered an ernptoyee of the Claims
   Administrator for any purpose including. but not limited to. for purposes of the Federal Insurance
   Contribution Act, the Soci<:1l Security Act, the Federal Unemployment Tax Act, income tax withholding
   (federal, state and local). worker's compensa tion insurance premiums, and any and all state taxes.
   Subcontractor agrees to comply with all legal and ethical obligations related to assisting the Claims
   Adminis trator in his Court-appointed role as the C,aims Administrator.

   Subcontractor Personnel : Subcontractor's officers, members, partners. directors. principals and
   employees.

   Transition Order: n )e order entered by the Court on Marcl t 8, 20·12 and any amendments or
   modifications thereto.

   Transition Process: Has the meaning as ascribf:)cl in the Courfs Ma;ch 8. 2012 First Amended Order
   Creating Transition Process and any amendments or modifications thereto.

   Vendor: A Contractor, but denominated as a vendor.

   Vendor Personnel; Vendor's officers. mernbecs, partners, directors, principals and employees.




   4 .0 Responsibil ity Matrix

   Contractors, Subcontractors and Vendors will seek to report all information accurately and honestly, and
   as oll1erwise required by applicable reporting requirements.

   The Claims Administrator and the CEO are responsible lor approving changes to this policy.




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              DEEPWATER HORIZON
              CLA IMS CENTER
              ECONOMIC & PROPERTY DAMAGE CLA IMS


   The CEO is responsrble for approving any deviatron from this policy.



   5.0 CONFLICT OF INTEREST AND RECUSAL
   Contractors, Subcontractors and Vendors will assrst the Clatms Administrator in carrytng out their
   responsibilities for the Court Supervised Claims Program in a professional manner and will do so at all
   times free of any conflict of tnterest as independent contractors.

   Contractors, Subcontractors and Vendors will ensure that Contractor, Subcontractor and Vendor
   Personnel will take appropriate steps to avord even the appearance of a conflic t o f interest or loss of
   impartiality with respect to the performance their official duties as part of the Court Supervised Claims
   Program. Contractors. Subcontractors and Vendors, and Contractor, Subcontractor and Vendor
   Personnel shall not participate, without pnor written approval from the Claims 1\dmtnlstrator. in any activity
   that presents or would appear to present to a reasonable person who Is knowledgeable of the relevant
   facts, a conflict of interest with the Court Supervised Claims Program. However, merely being acquainted
   with an indivrdual who. or entity that h"s made a clarm with the Transition Process andfor the Court
   Supervised Claims Program does not by itself require Contractor personnel to be recused from official
   activities that relate to the Court Supervised Claims Program.

   Contractor, Subcontractor and Vendor Personnel are not allowed to perform nny official duties in the
   Court Supervised Claims Program that relate to any former employer. close family member or close
   personal friend with respect to the Court Supervised Claims Program. without the prior written approval of
   the Claims Administrator. Contractor, Subcontractor and Vendor mus t ensure that all Contrac tor,
   Subcontractor and Vendor Personnel aff1rm that neither they nor any irnmcdtatc family members are an
   emplo yee of BP or any affiliated entity of BP. Contractor. Subcontractor and Vendor must further ensure
   that all Contractor. Subcontractor and Vendor Personnel affirm that neither they nor any immediate family
   member h<we submitted a claim to the Court Supervised Claims Program. and if any such claim is
   intended to be filed or is actually filed. Contractor. Subcontractor and Vendor shall Immediately notify the
   Claims Administrator in writing so that a determination may be made as to whether the Contractor,
   Subcontractor or Vendor Personnel in question m.ay continue to provide service to the Court Supervised
   Claims Program under tile circums tances.

   Other than rn the performance of their duties on behalf of Claims Admintstrator, Contractor. Subcontractor
   and Vendor must ensure that Contractor, Subcontrac tor and Vendor Personnel do not have and will not
   have any personal interest in the Transition Process. the Court Supervised Claims Program or the Claims
   Administration Services. nor wtlllhey lake any action that will connie! with or contravene this Policy as it
   apphes to the Transition Process, the Court Supervised Claims Program or the Claims Administration
   Services.

   Contractor, Subcontractor and Vendor must further ensure that all Contractor, Subcontractor and Vendor
   Personnel acknowledge tllat, to the best of tt1eir knowledge, no close family member or close personal
   friend has or will have any interest in the Tr<tnsition Process, the Court Supervised Claims Program or the
   Claims Adrninistratlon Services, or will take any actton that will contravene this Poltcy as it applies to the
   Clailll Process, the Court Supervised Claims Program or the Claims Administration Services.

   Contractor, Subcontractor and Vendor must report immediately to David F. Odom or Michael J. Juneau if
   they suspect that any Contractor. Subcontractor or Vendor Personnel may have v1olated of this Policy.




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               DEEPWATER HORIZON
               CLA IMS CENTER
               ECONOMIC & PROPERTY DAMAGE CLAIMS




   6.0 GJFTS, ENTERTAINMENT AND GRATUITIES

   To avoid even the appearance or a conflict of intetest or loss of Impartiality with respect to the
   performance of the;r official dulles as part of the Court Supervised Cla1ms Program. Contractor,
   Subcontractor and Vendor Personnel are prohibited from soliciting or accepting any gifts or gratuities from
   any person or entity that may be associated with the Court Supervised Claims Program or Claims
   A<lrninistration Services, including but not limited to any Claimant, party, attorney, vendor or other
   contractor or subcontractor.

   Girts and gratuities lnclude but are not limited to: cash, gift certificates, tickets to events. liquor, food,
   vac<ltlons, entertainment services, discounts, the usc of property or facilities or other favors of value
   extended to Contractor. Subcontractor or Vendor Personnel or their families. Reasonable business
   meals may, on occasion, be necessary and appropriate. Such meals are acceptable. if they are not
   lavish or frequent

   Contractor, Subcontrac tor and Vendor must also report immediately to David F. Odom or Michael J.
   Juneau 1f they suspect that any Contractor, Subcontractor or Vendor Personnel may have violated this
   Pohcy.




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